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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION


UNITED STATES OF AMERICA



v.                                             Case No. 4:22cr27-AW/MAF

ANDREW DEMETRIC GILLUM
and
SHARON JANET LETTMAN-HICKS,

                   Defendants.
                                           /

          GOVERNMENT’S RESPONSE TO DEFENDANT
     ANDREW GILLUM’S TIME SENSITIVE MOTION TO COMPEL

      On April 4, 2023, Defendant Andrew Gillum filed a “time sensitive” motion

to compel regarding five matters. Due to the identified time sensitivity, the

government submits this expedited response for the Court’s consideration. For the

following reasons, the Court should deny the motion.

      First, Defendant Gillum demands final transcripts now of any recordings the

government intends to use at trial. The most significant recordings were produced in

July 2022 along with a detailed summary of the contents. The rest were produced a

few weeks later. Transcripts have been prepared over time for some recordings. The

government gave Defendants what it had. The government has been diligently

working to refine the transcripts to ensure accuracy and brevity; to focus on the most
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important interactions.1 There is no legal basis to compel the government to produce

something which does not yet exist or to create it faster.

       Second, Defendant Gillum seeks a “cut-off” date “after which no new exhibits

should be admitted” by the government. The government has been providing

exhibits electronically to Defendants; first in bulk and then as additional exhibits are

added or existing ones are swapped out for a better version. Whenever there is such

a modification, the government notifies the Defendants and provides the new exhibit

pursuant to the Court’s scheduling order. ECF 45, 46. Almost all the exhibits were

previously produced in discovery last year. None of it is earthshattering or likely to

be unknown to the defense. There is no basis for such a “cut off” date. And, for his

part, Defendant Gillum has yet to produce any exhibits at all. It seems odd to

complain about the pace of reasonable supplementation when one has withheld all

his own material.

       Third, on March 8, 2023, Defendant Gillum asked the government for

information about the boat ride in New York and that evening; basically, whether

undercover agents offered drugs or sex acts to Defendant Gillum or his associates.

Notably, there are several recordings of the boat ride which were produced last year.



       1
          For example, a verbatim transcript of Defendant Gillum’s June 2017 FBI interview, the
basis of Count 1, was produced in July 2022 and is not expected to change before trial. Defendant
Gillum has sought to exclude many of the remaining recordings. Of course, nothing prevented
Defendant Gillum from having his own transcripts made.

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The government has made an appropriate inquiry concerning Defendant Gillum’s

unsupported insinuations. As a result of it, the government does not believe it has

any Brady or otherwise discoverable information to provide.2 The government will

continue to comply with its Brady and other discovery obligations.

       Fourth, the government has moved for a protective order regarding the UCEs

who testify in the case, which is pending before the Court. Due to safety concerns

for the UCEs and their families, the government would like to proceed cautiously

and have an appropriate and enforceable protective order in place before disclosing

the UCEs’ true names to Defendant Gillum.

       Fifth, Defendant Gillum further moves to compel production of two letters of

censure issued to FBI agents. The conduct underlying and leading to the letters was

disclosed to Defendants in July 2022. The government described the letters to

Defendants months ago. The material was the subject of the government’s first

motion in limine, ECF 81, filed March 9, 2023, which described for the Court both

the underlying conduct and the administrative consequences as to each agent, and

sought exclusion under Rules 402, 608(b), and 403.


       2
          As an aside, counsel says he has a good faith basis for assertions about the boat ride and
that evening but has declined to share it. So, it would seem the defense already possesses the
information sought. Brady applies to materially favorable information the defense is unaware of.
United States v. Arias-Izquierdo, 449 F.3d 1168, 1189 (11th Cir. 2006); see also Bell v. Bell, 512
F.3d 223, 234-235 (6th Cir. 2008). Numerous courts have rejected claims that the government
suppressed favorable information where the defendant had knowledge of the events in question.
See, e.g., Jennings v. McDonough, 490 F.3d 1230, 1238-1239 (11th Cir. 2007).

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       The underlying conduct is not admissible. It is plainly collateral and not

relevant to the merits of this case. It is not probative of truthfulness. See United

States v. Holt, 486 F.3d 997, 1002 (7th Cir. 2007) (precluding cross-examination of

two police officers as to prior discipline imposed on them by the police department;

evidence of reprimands received by both officers for neglect of duty did not bear on

character for truthfulness) see also ECF 81 (government’s first motion in limine).3

Even assuming it was minimally relevant to credibility, the probative value is

miniscule. See Wright & Miller, 28 Fed. Practice and Procedure § 6118 (2d ed.)

(explaining that “it is important to realize that conduct that does not directly

implicate veracity usually has very little probative value for the purposes of Rule

608 and may be highly prejudicial.”).

       The letters of censure themselves, as well as the fact of them, cannot be used

to attack credibility. As the Advisory Committee noted in the 2003 Amendment to

Rule 608(b):

       [T]he extrinsic evidence prohibition of Rule 608(b) bars any reference
       to the consequences that a witness might have suffered as a result of an
       alleged bad act. For example, Rule 608(b) prohibits counsel from
       mentioning that a witness was suspended or disciplined for the conduct
       that is the subject of impeachment, when that conduct is offered only to
       prove the character of the witness.



       3
         Defendant Gillum’s response to the government’s first motion in limine. ECF 114, takes
an extraordinarily broad—and incorrect—view of what is probative of a witness’ character for
truthfulness. See, e.g., United States v. Stone, 472 F.2d 909, 916 (5th Cir. 1973).
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See United States v. Davis, 183 F.3d 231, 257 n.12 (3d Cir. 1999) (explaining that

putting before the jury extrinsic evidence that a witness “was suspended or deemed

a liar . . . . not only puts hearsay statements before the jury, it injects the views of a

third person into the case to contradict the witness. This injection of extrinsic

evidence not only runs afoul of Rule 608(b), but also sets the stage for a mini-trial

regarding a tangential issue of dubious probative value that is laden with potential

undue prejudice.”); see also id. (“counsel should not be permitted to circumvent the

no-extrinsic-evidence provision [in Rule 608(b)(1)] by tucking a third person’s

opinion about prior acts into a question asked of the witness who has denied the act”)

(quoting Stephen A. Saltzburg, Impeaching the Witness: Prior Bad Acts and

Extrinsic Evidence, 7 CRIM. JUST. 28. 31 (Winter 1993)); see also United States v.

Whitehead, 618 F.2d 523, 529 (4th Cir. 1980) (“If such a witness either admits or

denies the suspension, we do not think that the documents relating to it are

admissible.”); 1 McCormick on Evidence § 41 (8th ed., July 2022 update) (“On

cross-examination, the questioner should ask the witness directly and bluntly

whether he committed the untruthful act. It is improper to inquire whether the

witness was ‘fired,’ ‘disciplined,’ or ‘demoted’ for the alleged act—those terms

smuggle into the record implied hearsay statements by third parties who may lack

personal knowledge.”).




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      In short, the letters themselves, the substance of which has been disclosed, are

not admissible or even discoverable.

      Accordingly, this Court should deny Defendant Gillum’s time sensitive

motion to compel, ECF 121, in all respects.

                                              Respectfully submitted,

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                      LOCAL RULE 7.1 CERTIFICATE

      I certify that the foregoing does not exceed 8,000 words, per Microsoft Word’s

word count, which complies with the word limit requirements set forth in Local Rule

7.1(F).

                                              /s/ Andrew J. Grogan
                                              ANDREW J. GROGAN
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